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IN THE UNITED STATES DISTRICT COURT HLHJBY/jzé{_ac_
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION =:~rr _

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X
JOSEPH THOMAS, X
X
Plaintiff, X
X

vs. X No. 04-2881-D/P

X
EDWIN C. LENOW, et al., X
X
Defendants. X
X

 

ORDER GRANTING MOTION TO PROCEED §§ FORMA PAUPERIS
ORDER OF DISMISSAL
AND
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH

 

Plaintiff, Joseph Thomas, a citizen of Dallas, Texas, filed
this complaint based upon diversity jurisdiction, along with a
motion to proceed in_fg;ma pauperis. The clerk of court shall file
the case and record the defendants as Edwin C. Lenow, the State of
Tennessee, and the State of Texas. The Clerk shall not issue
process or serve any papers in this case.

Thomas alleges he was involved in a child custody dispute with
Kim Daugherty in Dallas, Texas. Thomas alleges that Daugherty did
not appear at the Texas court hearing and instead moved to Georgia
and obtained a custody order. Thomas alleges that when he located
Daugherty and instituted court proceedings in Georgia, that she
fled to Tennessee. In 2003, Thomas filed pleadings in Shelby
County Chancery Court in an attempt to obtain custody of the child.
He alleges that private attorney Edwin C. Lenow represents or

represented Kim Daugherty in those proceedings.

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Thomas alleges that Lenow “misrepresent[ed]” the order of
Chancery Court Judge Alissandratos which was entered on August 25,
2003, by telling the Memphis police that the order directed the
child should remain in the Shelby County Juvenile Center. Thomas
further alleges that Lenow “filed a false police report with the
sex crimes unit . . . on September 29, 2003 in order to have
{Thomas] arrested for alleged aggravated kidnapping and custodial
interference” which resulted in his imprisonment at the Shelby
County Jail from April 18, 2004 through May 21, 2004.

Thomas contends that Lenow also told a police officerr a state
prosecutor, and his public defender that plaintiff “impersonated a
Shelby County Sheriff’s deputy in order to remove {the child] from
the Shelby County Juvenile Center. Thomas alleges that his public
defender then conspired with Lenow to coerce plaintiff into
accepting a plea agreement. Finallyr plaintiff alleges that Lenow
has drafted and utilized orders which have not been properly filed
with the Court to thwart plaintiff's child custody proceedings and
to obtain another warrant for his arrest.

The Court’s review of the Shelby County Criminal Court docket
reveals that plaintiff has been indicted by the Shelby County grand
jury for criminal impersonation, aggravated rape, especially
aggravated kidnapping, and. resisting official detention. All
charges remain pending and Thomas' next court date is June 23,
2005.

Plaintiff named “The State of Tennessee” and “The State of
Texas" as defendants in the heading of his complaint. The

complaint contains no specific factual allegations against either

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state. Thomas does not seek damages from either state in his
prayer for relief. In any event, the claims against the States of
Tennessee and Texas are barred by sovereign immunity. Absent a
clear abrogation of immunity by congressional action or an express
state waiver of that immunity, the Eleventh Amendment prohibits
suits against a state in federal court. Kentuckv v. Graham, 473
U.S. l59, 165~66 (1985); Pennhurst State Schl. & Hosp. v.
Halderman, 465 U.S. 89, 98-100 (1984); Quern v. Jordan, 440 U.S.
332 (1979). A state is not a person within the meaning of 42
U.S.C. § 1983. Will v. Michigan, 491 U.S. 58, 71 (1989). Even to
the extent that a suit seeks only injunctive relief against either
State, the Eleventh Amendment still bars the action. Idaho v.
Coeur D'Alene Tribe of Idaho, 117 S. Ct. 2028, 2041-42 (1997).

Thomas' claims, whether characterized as malicious
prosecution, negligence, malpractice, libel, or slander, all arise
from Lenow’s representation of Daughtery in the state court child
custody proceedings and his alleged involvement in Thomas’ state
criminal prosecution. The Court first the allegations arising from
Lenow’s actions during the domestic proceedings. Plaintiff may not
attack the state court domestic proceedings or judgment in a
collateral proceeding in federal court. This would amount to
obtaining review in this court of the decision of a Tennessee
court. Any claim, arising from the manner in which those

proceedings were litigated should have been presented in that

forum.
United States district courts . . . do not have

jurisdiction[]over challenges to state-court decisions in
particular cases arising out of judicial proceedings even

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if those challenges allege that the state court's action

was unconstitutional. Review of those decisions may be

had only in this [the United States Supreme] Court. 28

U.S.C. § 1257.
District of Columbia Court of Appeals v. Feldman,r 460 U.S. 462,
482-83, 486 (1983). See also Rooker v. Fidelitv Trust Co., 263
U.S. 413, 416 (1923)(federal district courts lack jurisdiction to
review or modify a judgment of a state's highest court). In short,
"[1]ower federal courts possess no power whatever to sit in direct
review of state court decisions." Cleveland Suroi-Center v. Jones,
2 F.3d 686, 691 (6th Cir. 1993). Similarly,

federal courts have no authority to issue writs of

mandamus to direct state courts or their judicial

officers in the performance of their duties. Clark v.

Washington, 366 F.Zd 678 (9th Cir. 1966); Campbell v.

Washington State Bar Ass'n, 263 F. Supp. 991 (W.D. Wash.

1967).
Haggard v. State of Tennessee, 421 F.2d 1384, 1386 (6th Cir. 1970).

To the extent that the state courts still have jurisdiction
over any aspect of plaintiff's child custody dispute, this court
cannot exercise diversity jurisdiction to interfere in the exercise
of the state court's jurisdiction over those domestic relations
issues. See, e.g., Mann v. Conlin, 22 F.3d 100, 105-06 (6th Cir.
1994); Hooks v. Hooks, 771 F.Zd 935, 942 (6th Cir. 1985); Firestone
v. Cleveland Trust Co., 654 F.2d 1212, 1215 (6th Cir. 1981);
Jagiella v. Jagiella, 647 F.2d 561, 565 (5th Cir. 1981); Parker v.
Turner, 626 F.2d 1, 4 (6th Cir. 1980). The state court is the
proper forun1 for Thomas to air and7 litigate any defenses and

complaints based upon Lenow’s actions in the domestic proceeding.

Thus, this Court must abstain from exercising any jurisdiction over

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claims for relief which arise from the state court proceedings and
decrees.

Further, Thomas may not sue Lenow for statements made during
the state court proceedings. lt is generally recognized that
statements made in the course of a judicial proceeding that are
relevant and pertinent to the issues involved are absolutely
privileged and cannot be the predicate for liability in an action
for libel, slander, or invasion of privacy. Lambdin Funeral
Service, lnc. v. Griffith, 559 S.W.2d 791, 792 (1978); Jones v.
I;ige, 360 S.W.Zd 48, 50-51 (1962); 62 Am. Jur. 2d Privacy § 14; 53
C. J. S. Libel & Slander § 104. This absolute privilege holds true
even in those situations where the statements are made maliciously
and corruptly. Havslip v. Wellford, 263 S.W.2d 136, 42 A.L.R. 2d
820 (1953).

Thomas has no claim against, Lenow for malpractice or
professional negligence. A claim of common law negligence requires
a duty of care owed by the defendant to the plaintiff, conduct
falling below the applicable standard of care that amounts to a
breach of that duty, an injury, cause in fact, and proximate of
legal cause. White v. Lawrence, 975 S.W.Zd 525, 529 (Tenn. 1998).
In a legal negligence or malpractice case, the client must prove
employment of the attorney, neglect by the attorney of a reasonable
duty, and damages that resulted to the client from that neglect.
Blocker v. Dearborn & Ewing, 851 S.W.2d 825, 826 (Tenn. 1993);
Sammons v. Rotroff, 653 S.W.2d 740, 745 (Tenn. App. 1983). Thomas
has alleged no relationship or circumstances under which Lenow owed

him any legal duty. Furthermore, he admits that Lenow represented

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the opposing party, Kim Daugherty. As there was no attorney~client
relationship between Thomas and Lenow, Thomas' claim for
malpractice has no basis in law or fact.

Plaintiff alleges that the defendant lied or otherwise abused
process to cause hini to be charged. with, crimes. A. clain\ of
malicious prosecution requires that plaintiff establish that a
criminal proceeding has been instituted against the plaintiff, that
such proceeding terminated in favor of the accused, that there was
an absence of probable cause, and that there was malice or a
primary' purpose other than that of bringing the offender to
justice. Sullivan v. Younq, 678 S.W.Zd 906, 911 (Tenn. App.
1984)(citing Landers v Kroger, 539 S.W. 130 (Tenn. App. 1976).

Thomas has been indicted by a Shelby County grand jury and is
awaiting trial. He cannot establish, as required by law, that the
proceedings have terminated in his favor and any claim of malicious
prosecution have not yet accrued. §ee Rose v. Levy, 113 S.W. 1042,
1044 (1908). The Court expresses no opinion on the merit of this
claim.

Accordingly, this complaint fails to state a claim upon which
relief can be granted and is DISMISSED pursuant to 28 U.S.C. §

l9l5(e)(2)(B)(ii) and Fed. R. Civ. P. l2(h)(3).

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The next issue to be addressed is whether plaintiff should be
allowed to appeal this decision pp fp;ma papp§pi§. Twenty~eight
U.S.C. § 1915(a)(3) provides that an appeal may not be taken ip
fp;ma pauperis if the trial court certifies in writing that it is
not taken in good faith.

The good faith standard is an objective one. Coppedge v.
United States, 369 U.S. 438, 445 (1962). Accordingly, it would be
inconsistent for a district court to determine that a complaint
fails to state a claim upon which relief may be granted, yet has
sufficient merit to support an appeal ip forma pauperis. See
Williams v. Kullman, 722 F.2d 1048, 1050 n.l (2d Cir. 1983). Thus,
the same considerations that lead the Court to dismiss this case
for failure to state a claim also compel the conclusion that an
appeal would be frivolous.

lt is therefore CERTIFIED, pursuant to 28 U.S.C. § l915(a)(3),
that any appeal in this matter by plaintiff is not taken in good
faith, and plaintiff may not proceed on appeal ip fp;ma pauperis.

The Sixth Circuit Court of Appeals decisions in McGore v.
Wrigglesworth, 114 F.3d 601, 612-13 (6th Cir. 1997), and Callihan
v. Schneider, 178 F.3d 800 (6th Cir. 1999), apply to any appeal
filed by the plaintiff in this case. If plaintiff files a notice
of appeal, he must pay the entire $255 filing fee required by 28
U.S.C. §§ 1913 and 1917, or file a request for leave to appeal ip
fp;ma pauperis by filing "within thirty days after service of the
district court's decision as prescribed by Fed. R. App. P.

24(a)(4}, a motion with [the Sixth Circuit] for leave to proceed as

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a pauper on appeal." Callihan, 178 F.3d at 803. Under Callihan,
if the appellant does not within this thirtyvday period either file
the required motion or pay the filing fee, the appeal will be
dismissed for want of prosecution. lf the appeal is dismissed, it

will not be reinstated once the fee is paid. Id. at 804.

IT IS SO ORDERED this gt day Of May, 2005.

  

U ITED STATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:04-CV-02881 Was distributed by fax, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

Joseph Thomas
2777 N. Buckner Blvd., #115
Dallas, TX 75228

Honorable Bernice Donald
US DISTRICT COURT

